       Case 6:10-cr-00001-LGW-CLR Document 225 Filed 06/05/12 Page 1 of 2



     UNITED STATES DISTRICT COURT                    case. Doc.# 212.
     SOUTHERN DISTRICT OF GEORGIA
         STATESBORO DIVISION                             Simmons now has filed a '"'Federal Rules of
                                                     Criminal Procedure 35(a) Motion to Correct
UNITED STATES OF AMERICA                             Clear Career Offender Guideline Sentencing
                                                     Error, etc." Doe. # 209. The government filed a
V.                             6IOCROO1              response in opposition. Doe. # 219. Simmons
                                                     filed a counter response in opposition. Doe. #
ELIJAH NAHUM SIMMONS                                 221. Simmons contends that the Court
                                                     incorrectly sentenced him as a career offender.
                                                     Doe. # 209. He claims that Rule 35(a) of the
                   ORDER                             Federal Rules of Criminal Procedure provides an
                                                     avenue to correct a sentencing error. Id.
   In 2010, a federal grand jury indicted
Simmons on conspiracy to distribute five                Simmons is not entitled to relief under Fed.
kilograms or more of cocaine hydrochloride, 50       R. Crim. P. 35(a), which provides that "within
grams or more of cocaine base, and 50 kilograms      14 days after sentencing, the court may correct a
or more of marijuana in violation of 21 U.S.C.       sentence that resulted from arithmetical,
§ 841(a)(1), (b)(1)(A), 846. Doc. # 1.               technical, or other clear error." He claims that
Simmons pleaded guilty to the lesser-included        his motion is timely because he filed it within 14
offense of conspiracy to possess with intent to      days of this Court re-entering written judgment
distribute and to distribute 50 kilograms or more    in his case (on April 26, 2012). Doe. # 201.
of marijuana in violation of 21 U.S.C. § 846. By     However, the 14-day period of Rule 35(a) is
his plea agreement, Simmons waived his right to      marked from "the oral announcement of the
collaterally attack his conviction and sentence on   sentence," Fed. R. Crim. P. 35(c), not the entry
any ground. In exchange, the government              of written judgment. Simmons's sentence was
dismissed the remaining counts against               orally announced in 2010, Doe. ## 150, 184, and
Simmons. Doc. 154. The district court                his 35(a) motion is thus years untimely. It
sentenced Simmons to serve 240 months in             should be denied on that basis alone.
prison. Doc. # 151. Simmons did not appeal.
                                                   The motion should also be denied because
   In 2011, Simmons filed a 28 U.S.C. § 2255 nothing about Simmons's claimed error in
motion, Doe. # 169, and the government filed a sentencing is "arithmetical, technical, or
motion to dismiss, Doc. # 181. In 2012, the clear." See Fed. R. Crim. P. 35(a). The district
Court adopted the Magistrate Judge's Report and court committed no error at all by adjudging
Recommendation and granted the § 2255 motion Simmons a career offender because Simmons
allowing for an out of time appeal. Doe. ## 191, agreed at his sentencing that he was a career
192. An amended judgment was entered, Doe. offender. A defendant qualifies as a career
# 201, and Simmons filed a notice of appeal, offender if he "has at least two prior felony
Doe. # 203. The direct appeal is currently convictions of either a crime of violence or a
pending before the Eleventh Circuit Court of controlled substance offense." U.S.S.G. §
Appeals. See United States v. Simmons, Case 4B1 .1(a). The PSI set out that Simmons had two
No. 12-12464. On May 10, 2012, court prior controlled substance convictions - one for
appointed counsel, Christopher Edward the sale of cocaine and one for the possession of
Chapman, filed an entry of appearance in the cocaine with intent to distribute, thus qualifying
      Case 6:10-cr-00001-LGW-CLR Document 225 Filed 06/05/12 Page 2 of 2



as a career offender. PSI 1111 43, 49-50.
Simmons did not object to these findings. PSI
Addendum; Doc. 184-Pg. 5. "It is the law of
this circuit that a failure to object to allegations
of fact in a PSI admits those facts for sentencing
purposes." United States v. Wade, 458 F.3d
1273, 1277 (11th Cir. 2006).

   Accordingly, Simmons's "Federal Rules of
Criminal Procedure 35(a) Motion to Correct
Clear Career Offender Guideline Sentencing
Error, etc." is DENIED.

   This           of June, 2012.



B. AVANT EtYENFIELD, JTDGE
UNITED STATES DISTRI(1F COURT
SOUTHERN DISTRICT OF GEORGIA
